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                             UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                     NORFOLK DIVISION
                                           In Admiralty
                                                                               CLERK. U S D.'STRICT COURT
                                                                                      • DRFOLK, V.A
LYNNHAVEN FISHING CO., LLC

                        Plaintiff,

v.                                                          Civil Action No.   ll'MCM %D(e
MA' ORNAK, IMO No. 9452610,
her engines, boilers, tackle, equipment,
appurtenances, and cargo, /'// rem,

                        Defendant.


                          VERIFIED COMPLAINT IN ADMIRALTY


       Plaintiff. Lynnhaven Fishing Co., LLC, for its Verified Complaint in Admiralty against

Defendant vessel, M/V ORNAK. IMO No. 9452610, her engines, boilers, tackle, equipment,

appurtenances, and cargo, in rem ("the Vessel"), states as follows:

       1. This is a case for property damage caused by a vessel on the navigable waters of the

           United States and comes within this Court's original admiralty and maritime

           jurisdiction pursuant to 28 U.S.C. §1333 and Rule 9(h) of the Federal Rules of Civil

           Procedure.


       2. Plaintiff is a Virginia Limited Liability Company and is the owner of several fish

           impoundments in the navigable waters of the United States, in the vicinity of the

           Lynnhaven Fishing Pier in the City of Virginia Beach, Virginia.

       3. Defendant Vessel is a [Bahamian flagged bulk carrier, approximately 751 feet in

           length. 79.677 deadweight tons, built in 2010.

       4. On or about April 15. 2014, the Vessel left its anchorage in Lynnhaven Roads in the

           Chesapeake Bay and ran aground, destroying one of Plaintiff s fish impoundments.

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    5. Prior to running aground, the Vessel was at Anchor and was aware, or should have

        been aware, of the weather forecast for an approaching storm system that would bring

        with it high winds.

    6. The storm was neither unusual nor atypical for the waters where the Vessel was

        anchored, and the Vessel had ample warning to take protective measures to secure

        itself at its anchorage and owed a duty to Plaintiff to do so.

    7. Nonetheless, the Vessel negligently failed to take the precautions needed to secure

        itself against the storm, and as a result the Vessel proximately caused extensive

        damage to Plaintiffs fish impoundment.

    8. Furthermore, once storm conditions commenced and continued, the Vessel failed to

        take reasonable actions in response to the conditions and owed a duty to Plaintiff to

        do so, and as a result the Vessel drifted and proximately caused extensive damage to

        Plaintiffs fish impoundment.

    9. The precise value of damages that have been and will be suffered by Plaintiff due to

        the negligence of the Vessel, including the cost of repair of the impoundment

        structure and its nets, the value of the fish that were in the impoundment when the

        vessel ran aground, the lost profits and other expenses are not yet known, but are

        reasonably expected to be in excess of $500,000.00.

     10. Prior to the commencementof this in rem action, all parties accepted a written

        undertaking from the Vessel's underwriters to respond on behalf of the Vessel in the

        amount of $1 million in return for Plaintiff foregoing the arrest of the Vessel,

        pursuant to Local Admiralty Rule (c)(1). A copy of said Letter of Undertaking is

        filed hereto as Exhibit A ("Letter of Undertaking").
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        11. In reliance on the Letter of Undertaking. Plaintiff declined to commence an action for

           the arrest of the Vessel before the Vessel left this district.

WHEREFORE. Plaintiff, Lynnhaven Fishing Co.. LLC. prays:


           1. That the Court shall file the written Letter of Undertaking which is attached

hereto as Exhibit A, and which shall become the party in place of the M/V ORNAK and shall be

deemed the subject referred to when a pleading, motion, order, or judgment in the action refers to

the M/V ORNAK. all pursuant to Local Admiralty Rule (c)(1);

           2.      That there be judgment rendered in favor of Plaintiff against Defendant, M/V

ORNAK. in rem. in the amount to be proved at trial, but currently estimated to be in excess of

$500,000 plus custodia legis costs and expenses, pre-judgment and post-judgment interest, plus
costs and attorneys fees; and

           3.      That Plaintiff have such other and further relief as this Court and justice may

deem just and appropriate under the circumstances of the cause.

                                                LYNNHAVEN FISHING CO., LLC



                                                               Of Counsel
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                                        VERIFICATION


                I, Dimitri Hionis, am a Managing Member of Lynnhaven Fishing Co., LLC, the

Plaintiff in this action. On behalf of the Plaintiff. I verify under solemn affirmation that the facts

alleged in the foregoing Complaint are true and correct to the best of my knowledge and

information.


                Pursuant to 28 U.S.C. §1746. 1declare under penalty of perjury that the foregoing

is true and correct.


                Executed on y-zS* /</. 2014


                                       LYNNHAVEN FISHING CO.. LLC




                                   BY^            Dimitri Hionis, Managing Member
